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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

   Civil Action No.

   UNITED STATES OF AMERICA,

                           Plaintiff,

   v.

   18,753 COMIC BOOKS,
   1998 BMW 740IL VIN WBAGJ8320WDM08536,
   2000 AUDI A8 VIN WAUFL54D1YND002010,
   2001 FORD MUSTANG VIN 1FAFP42X61F104391,
   1998 MERCEDES-BENZ S500 VIN WDBGA51G5WA385027,
   1998 LEXUS GS300 VIN JT8BD68S8W0032384,
   $747.00 UNITED STATES CURRENCY,
   $850.00 UNITED STATES CURRENCY,
   $953.00 UNITED STATES CURRENCY, and
   $545.00 UNITED STATES CURRENCY,

                     Defendants.
   ______________________________________________________________________________

                          WARRANT FOR ARREST OF PROPERTY IN REM


          TO: INTERNAL REVENUE SERVICE, CRIMINAL INVESTIGATION AND/OR ANY

   OTHER DULY AUTHORIZED LAW ENFORCEMENT OFFICER:

          PURSUANT to the Order for Warrant for Arrest of Property In Rem issued by this Court,

   YOU ARE HEREBY COMMANDED TO ARREST AND SEIZE as soon as practicable, all the

   defendant properties described in the Verified Complaint for Forfeiture In Rem filed herewith, and

   to use whatever means may be appropriate to protect and maintain it in your custody until further

   order of this Court;

          PROMPTLY TO make your return of the Warrant with the Court;
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         DONE at Denver, Colorado, this     day of _____________________, 2011.


                                          GREGORY C. LANGHAM
                                          Clerk of the United States District Court


                                          By:___________________________________
                                              Deputy Clerk




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